                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE




 CANDICE RANA SULFRIDGE,               )

                      Plaintiff        )

            v.                         )               No. 3:05-cv-188
                                                       (Phillips/Guyton)
 JOHN HUFF, LARRY G. MOORE,            )
 JANETTE HARRIS, TIMOTHY
 HUTCHISON, JOHN DOE I, JOHN          )
 DOE II, JOHN DOE III, JOHN DOE,
 IV, KNOX COUNTY, TENNESSEE,           )
 RANDY HINTON, and CHESTNUT
 STREET GARAGE, INC.,                  )

                      Defendants       )


 and


 ADAM TRAVIS DAVIS,                   )

                      Plaintiff        )

            v.                         )               No. 3:05-cv-202
                                                       (Phillips/Guyton)
 JOHN HUFF, TIMOTHY HUTCHISON,        )
 JOHN DOE DEPUTY SHERIFFS, and
 KNOX COUNTY, TENNESSEE,               )

                      Defendants       )




                                   ORDER


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             For the reasons set forth in the Memorandum Opinion this day passed to the

 Clerk for filing, it is hereby ORDERED that Knox County’s motions for summary judgment

 [Court Files #147, #150] are DENIED; defendant Janette Harris’ motion for summary

 judgment [Court File #148] is GRANTED; defendant Larry Moore’s motion for summary

 judgment [Court File #149] is GRANTED; defendant John Huff’s motion for summary

 judgment [Court File #153] is DENIED; Sheriff Tim Hutchison’s motion for protective

 order [Court File #189] is GRANTED; plaintiffs’ renewed motion for additional time to

 respond to defendants’ summary judgment motions [Court File #196] is GRANTED; and

 plaintiffs’ motion to amend complaints [Court File #205] is GRANTED.


                         ENTER:

                                                    s/ Thomas W. Phillips
                                               UNITED STATES DISTRICT JUDGE




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